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 1   JENNIFER C. NOBLE, ESQ., CSBN 256952
     WISEMAN LAW GROUP, P.C.
 2      1477 Drew Avenue, Suite 106
        Davis, California 95618
 3      Telephone: 530.759.0700
        Facsimile:    530.759.0800
 4
     Attorney for Defendant
 5
     ELISABET PEREZ
 6

 7
                                  IN THE UNITED STATES DISTRICT COURT

 8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                 SACRAMENTO DIVISION

10

11
     UNITED STATES OF AMERICA,                           ) Case No. 2:14-CR-0326 JAM
                                                         )
12
                                     Plaintiff,          )
                                                         )
13
             vs.                                         ) STIPULATION AND [PROPOSED]
                                                         ) ORDER TO MODIFY CONDITIONS
14
                                                         ) OF PRE-TRIAL RELEASE
                                                         )
15
     ELISABET PEREZ,                                     )
                                                         )
16
                                     Defendant.          )
                                                         )
17
                                                         )

18                     IT IS HEREBY STIPULATED by and between the parties, the UNITED
19   STATES OF AMERICA, through undersigned counsel, Josh Sigal, Assistant United
20   States Attorney, and Jennifer C. Noble, attorney for Elisabet Perez, with no objection
21   from the Pre-Trial Officer, that Condition 16 of Elisabet Perez’s pre-trial release be
22   modified to extend her curfew from 7 p.m. to 10 p.m., on Friday, June 5, 2015, so that
23   she can attend a graduation ceremony.
24    /////
25    /////
26    /////
27    /////
28    /////

                                                          1
     Stipulation and Proposed Order                                    Case No. 2:14-CR-0326 JAM
     To Modify Conditions of Pre-Trial Release
        Case 2:14-cr-00326-JAM Document 30 Filed 06/02/15 Page 2 of 2


 1            All other conditions of pre-trial release would remain unchanged.
 2

 3   IT IS SO STIPULATED.
 4
     Dated: June 1, 2015                             By: /s/ Jennifer C. Noble
 5                                                          JENNIFER C. NOBLE
                                                            WISEMAN LAW GROUP
 6                                                          Attorney for Defendant
                                                            ELISABET PEREZ
 7

 8
     Dated: June 1, 2015                                    BENJAMIN B. WAGNER
 9                                                          United States Attorney
10
                                                      By: /s/ JOSH F. SIGAL
11                                                          JOSH F. SIGAL
                                                            Assistant United States Attorney
12

13

14                                               PROPOSED ORDER

15            GOOD CAUSE APPEARING, it is hereby ordered that the Conditions of Pre-Trial
16   Release be modified as follows:
17            Condition 16 restricting defendant to her home for the hours of 7:00 p.m. to 7:00
18   a.m. be modified to allow her to attend a graduation ceremony June 5, 2015 from 7:00
19   to 10:00 p.m. All other conditions of pre-trial release remain in force.
20

21   IT IS SO ORDERED.
22
     Dated: June 2, 2015                             _______________________
23
                                                     HON. EDMUND F. BRENNAN
24                                                   United States Magistrate Judge

25

26

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                                                        2
     Stipulation and Proposed Order                                        Case No. 2:14-CR-0326 JAM
     To Modify Conditions of Pre-Trial Release
